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             EXHIBIT A
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 9    Board, San Francisco Bay Region
10                            UNITED STATES DISTRICT COURT
11                         NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN JOSE DIVISION
13
14
      SAN FRANCISCO BAYKEEPER,                            5:20-cv-00824-EJD
15
                                           Plaintiff,
16
                  v.                  CALIFORNIA STATE WATER
17                                    RESOURCES CONTROL BOARD
                                      AND CALIFORNIA REGIONAL
18    CITY OF SUNNYVALE, ET AL.       WATER QUALITY CONTROL
                                      BOARD, SAN FRANCISCO BAY
19                        Defendants. REGION AMICUS BRIEF IN
                                      SUPPORT OF PLAINTIFF’S
20                                    OPPOSITION TO MOTION FOR
                                      RECONSIDERATION
21
                                                          Date:       May 22, 2025
22                                                        Time:       2:00 p.m.
                                                          Dept:       4
23                                                        Judge:      Hon. Edward J. Davila
                                                          Trial Date: June 10, 2025
24
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28

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 1                                         INTRODUCTION
 2         The State Water Resources Control Board (State Water Board) and the
 3    Regional Water Quality Control Board, San Francisco Bay Region (SF Bay Water
 4    Board) (together, Water Boards) respectfully submit this amicus brief in support of
 5    the Plaintiff’s opposition to Defendant Cities’ Motion for Reconsideration. ECF
 6    No. 278 (Motion). In California, the State Water Board and nine regional water
 7    quality control boards implement the Clean Water Act. The SF Bay Water Board 1
 8    issued the National Pollution Discharge Elimination System (NPDES) Permit 2
 9    relevant to this matter. Furthermore, in conjunction with the U.S. Environmental
10    Protection Agency, the SF Bay Water Board also issued the NPDES permit
11    challenged in the U.S. Supreme Court’s recent Clean Water Act decision in City
12    and County of San Francisco, California v. Environmental Protection Agency, 145
13    S. Ct. 704 (2025) (CCSF v. U.S. EPA). The State of California filed an amicus brief
14    in support of the U.S. EPA in that matter. In light of its longstanding and continuing
15    interest in the application of the U.S. Supreme Court’s recent Clean Water Act
16    decision in CCSF v. U.S. EPA, and the application of that decision to this Permit,
17    the Water Boards file this amicus brief in opposition to the Motion.
18         The Cities now argue that the Supreme Court’s decision in CCSF v. U.S. EPA
19    holding that U.S. EPA may not issue NPDES permits that contain end-result
20    requirements should invalidate two of the Permit terms. But this Court should deny
21    the Motion and reject the Cities’ effort to bypass the mandatory state review
22    process through their improper collateral attack on the Permit. In fact, the Cities
23    engaged in the mandatory state review process through their petitions for State
24
            1
              The SF Bay Water Board is the government agency primarily responsible
25    for water quality in the San Francisco Bay region. Cal. Water Code §§ 13200,
      13201, 13225. It has, for decades, issued similar permits for discharges related to
26    the systems discharging stormwater under the federal Clean Water Act, 33 U.S.C.
      § 12512 et seq.
27            The SF Bay Water Board issued Municipal Regional Stormwater NPDES
      Permit, NPDES Permit No. CAS612008, Order No. R2-2015-0049 and reissued it
28    in 2022 as NPDES Permit No. CAS612008, Order No. R2-2022-0018.
                                                1
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 1    Water Board review of both the 2015 and 2022 Permit. To assist the Court in its
 2    review, the Water Boards as amici curiae focus on the issue of the Cities’ improper
 3    collateral attack on the Permit—an issue on which amici are in a position to offer a
 4    fuller picture of the case law and relevant statutes and regulations. The Water
 5    Boards do not address in full the additional arguments raised by SF Baykeeper and
 6    the Cities, and they express no opinion on the factual issues surrounding the
 7    violations. The Water Boards urge the Court to deny the Cities’ Motion as
 8    procedurally barred without reaching the additional issues.
 9                                              ARGUMENT
10    I.   THE CITIES’ MOTION IS AN IMPERMISSIBLE COLLATERAL ATTACK ON
           THE PERMIT
11
           A.   The Clean Water Act and State Law Explicitly Prohibit the
12              Cities from Challenging the Permit in This Court
13         Conditions in NPDES permits are final when adopted, and challenges to
14    permit conditions may only be made through the administrative appeal process.
15    Claims against state-issued permits are not properly lodged in federal district court.
16    Southern California Alliance of Publicly Owned Treatment Works v. U.S.
17    Environmental Protection Agency, 8 F.4th 831, 839 (9th Cir. 2021) (SCAP v. U.S.
18    EPA) (“the statute ‘does not contemplate federal court review of state-issued
19    permits’”), citing SCAP v. U.S. EPA, 853 F.3d 1076, 1086 (9th Cir. 2017) (“The
20    [NPDES] permits issued by the state are subject to administrative and judicial
21    review in accordance with state law.”). Instead, such challenges must be brought in
22    the state courts. 40 C.F.R. § 123.30 (judicial review of permits issued by the state is
23    limited to state court); Cal. Water Code §§ 13320, 13321, 13330 (review and
24    petition for stay by state board, and review in superior court). In fact, challenges to
25    NPDES permits, whether issued by the states or the U.S. EPA, are never reviewable
26    in the district courts. SCAP v. U.S. EPA, 8 F.4th at 839.3
27          3
             U.S. EPA-issued permits must initially be challenged before the
      Environmental Appeals Board and then in the appropriate United States circuit
28                                                                         (continued…)
                                             2
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 1         The exclusive nature of state jurisdiction over permit challenges is consistent
 2    with the Clean Water Act’s requirement that transfer of permitting authority to the
 3    state is non-discretionary once the statutory requirements for transfer are satisfied.
 4    Nat’l Ass’n of Home Builders v. Defenders of Wildlife, 551 U.S. 644, 650-51 (2007)
 5    (discussing 33 U.S.C. 1342(b)). In fact, “[u]pon approval of a State program, the
 6    Administrator shall suspend the issuance of Federal permits for those activities
 7    subject to the approved State program.” 40 C.F.R. § 123.1(d). Thereafter, the state
 8    NPDES program operates in lieu of the EPA’s permitting authority and federal law
 9    requires only that permits be subject to “judicial review in State Court of the final
10    approval or denial of permits by the State.” 40 C.F.R. § 123.30. State law does not
11    permit the challenge that the Cities attempt here. Cf. Cal. Water Code §§ 13321,
12    13330, and 13361. And the Clean Water Act affirms the state prerogative to
13    structure judicial review so long as it satisfies federal requirements. 40 C.F.R.
14    § 123.30 (“A State will meet this standard if State law allows an opportunity for
15    judicial review that is the same as that available to obtain judicial review in federal
16    court of a federally-issued NPDES permit”); see 33 U.S.C. § 1369(b)(2) (validity of
17    NPDES permit “shall not be subject to judicial review in any civil or criminal
18    proceeding for enforcement”); Sierra Club v. Union Oil Co., 813 F.2d 1480, 1487-8
19    (9th Cir. 1987), vacated, 485 U.S. 931 (1988), reinstated with minor amend., 853
20    F.2d 667, 672 (9th Cir. 1988). The Ninth Circuit has further observed that “state
21    courts can interpret federal law, and thus can review and enjoin state authorities
22    from issuing permits that violate the requirements of the Clean Water Act.” SCAP
23    v. U.S. EPA, 8 F.4th at 839, citing Boise Cascade Corp. v. EPA, 942 F.2d 1427,
24    1434 (9th Cir. 1991). Indeed, California courts have often interpreted the Act. See,
25    e.g., City of Burbank v. State Water Res. Control Bd., 35 Cal.4th 613 (2005).
26
      court of appeals. 33 U.S.C. § 1369(b)(1)(F); 40 C.F.R. §§ 124.19(a)(1),
27    124.19(a)(3), 124.19(l)(1) (“A petition to the Environmental Appeals Board...is,
      under 5 U.S.C. § 704, a prerequisite to seeking judicial review of the final agency
28    action.”); SCAP v. U.S. EPA, 853 F.3d at 1081, 1083 n.4.
                                                3
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 1         Consistent with these requirements, the Water Boards are authorized to
 2    administer the NPDES program in California, and the SF Bay Water Board issued
 3    the Permit pursuant to this authorization. 33 U.S.C. § 1342(b). The Porter-Cologne
 4    Act is “the principal law governing water quality regulation in California.” Central
 5    Sierra Env’t Res. Ctr. v. Stanislaus Nat’l Forest, 30 F.4th 929, 933 (9th Cir. 2022),
 6    citing Monterey Coastkeeper v. Cent. Coast Reg’l Water Quality Control Bd., 76
 7    Cal.App.5th 1 (2022). “Pursuant to the Porter-Cologne Water Quality Control Act,
 8    California state law designates the State Water Resources Control Board and nine
 9    regional boards as the principal state agencies charged with enforcing federal and
10    state water pollution laws and issuing NPDES permits.” Natural Res. Defense
11    Council, Inc. v. County of Los Angeles, 725 F.3d 1194, 1198-99 (9th Cir. 2013),
12    citing Cal. Water Code § 13000 et seq.
13         The Porter-Cologne Act requires that decisions and orders of a regional water
14    quality control board, including the issuance and renewal of NPDES permits, are
15    only reviewable by petition to the State Water Board, and then by petition for
16    administrative mandamus in the superior court. Cal. Code Civ. Proc., § 1094.5; Cal.
17    Water Code §§ 13320, 13330. The propriety of permit conditions cannot be
18    collaterally attacked in an enforcement action such as this one. In fact, the
19    California Legislature has twice amended the judicial review provisions of the
20    Porter-Cologne Act to reinforce the finality of permit decisions. In 1996, the
21    Legislature removed a provision from the Porter-Cologne Act that allowed
22    additional opportunity for challenge: “[f]ailure to file [a challenge to a permit] shall
23    not preclude a party from challenging the reasonableness and validity of a decision
24    or order of a regional board or the state board in any judicial proceedings brought to
25    enforce such decision or order or for other civil remedies.” Cal. Water Code §
26    13330(a) (1996); Cal. Assembly Bill 3036 (1996). The effect of that amendment
27    was to bar the specific type of challenge raised by the motion for reconsideration;
28    namely, that during an enforcement action a challenger could attack the
                                              4
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 1    reasonableness or validity of a permit provision. The California Legislature more
 2    recently revised the Porter-Cologne Act to ensure finality of the Water Boards’
 3    permits to squarely resolve any concerns that permit conditions could be challenged
 4    in enforcement actions. Cal. Assembly Bill 2446 (2016) (amending Cal. Water
 5    Code §§ 13321, 13330, and 13361). Moreover, the concerns are even more acute
 6    here, where neither the State Water Board nor the SF Bay Water Board are parties
 7    to the enforcement action construing a state-issued NPDES permit.
 8         At this time, the Porter-Cologne Act leaves no doubt that permit challenges
 9    outside of the prescribed process—like that raised by the Cities’ Motion—are
10    explicitly barred:
11         Except as provided in this section and Section 13321, no legal or equitable
           process shall issue in any proceeding in any court against the state board, a
12
           regional board, or any officer or employee of the state board or a regional
13         board to review, prevent, or enjoin a decision or order by the state board, a
           regional board, or any officer or employee of the state board or a regional
14
           board before a decision or order is issued and the procedures for
15         administrative review of that decision or order have been exhausted.
16    Cal. Water Code § 13330(f).
17         This is a bar to challenge of state-issued permits in federal courts. This Court’s
18    role in rejecting the Cities’ collateral attack on the permit is simple and the Motion
19    must be denied.
20         But the Cities had an available avenue to raise their concerns regarding the
21    Permit. First, they did file petitions for review of the 2015 4 and 2022 Permit to the
22    State Water Board. ECF No. 220-1. In fact, the Cities have repeatedly sought
23    abeyance of their petition for the 2022 Permit, requesting and receiving an
24    additional two-year extension of that abeyance in mid-2024. Furthermore, pursuant
25    to Provision C.23 of their Permit, they may petition the SF Bay Water Board to
26          4
             The petition of the 2015 Permit was filed by the Santa Clara Valley Urban
      Runoff Pollution Prevention Program (SCVURPPP) and the San Mateo
27    Countywide Water Pollution Prevention Program (SMCWPPP) on behalf of
      themselves and their members. The Cities are members of SCVURPPP.
28
                                                        5
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 1    reopen and revise the Permit. Cal. Water Code § 13263(e) (“Upon application by
 2    any affected person, or on its own motion, the regional board may review and
 3    revise requirements. All requirements shall be reviewed periodically.”) To the
 4    extent the Cities believe their claims have merit, they have a clear route to raise
 5    them pursuant to state processes. The availability of those processes only
 6    underscores why the Cities’ attempted collateral attack is improper.
 7
           B.   CCSF v. U.S. EPA Does Not Resuscitate the Dead-Letter Cases
 8              Relied upon by the Cities
 9         The Cities rely solely on a Hawaii District Court opinion to claim that the
10    Cities may freely pursue a collateral attack of the Permit. Motion at 13-14, citing
11    Save Our Bays and Beaches v. City and County of Honolulu, 904 F. Supp. 1098 (D.
12    Hawaii 1994) (Save Our Bays v. CCH). But that reliance is misplaced. In Save Our
13    Bays v. CCH, the relevant part of the district court’s opinion relied on a Ninth
14    Circuit opinion that was later withdrawn after rehearing. Save Our Bays v. CCH,
15    904 F. Supp. at 1108-15, Northwest Env’t Advocates v. City of Portland, 11 F.3d
16    900, 909 (9th Cir. 1993) (NWEA I), opinion withdrawn and superseded on reh’g 56
17    F.3d 979 (9th Cir. 1995) (NWEA II). Save Our Bays v. CCH was explicit that its
18    holding was compelled by the later-overruled NWEA I Ninth Circuit decision
19    regarding the scope of the citizen suit provision. Save Our Bays v. CCH, 904 F.
20    Supp. at 1114-15 (finding that “the holding of NWEA [I], and the holding of this
21    case” is that “the condition is simply not susceptible to enforcement by private
22    citizens.”). And even Save Our Bays v. CCH confirmed that “only state courts can
23    review the validity of a state-issued NPDES permit.” Id. at 1114. In contrast, here
24    the Cities are claiming that Permit conditions in a state permit are unlawful. That is
25    not an issue of standing or of the Court’s jurisdiction to hear the claims, but an
26    attack on the very terms of the Permit itself.
27         Additionally, NWEA I—prior to being withdrawn after rehearing—held that
28    all NPDES permit limitations must qualify as effluent limitations, whereas this is
                                              6
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 1    precisely the finding that was rejected by the Supreme Court. Compare NWEA I, 11
 2    F.3d at 907 (citing cases) with CCSF v. U.S. EPA, 145 S. Ct. 704, 713 (“The
 3    statutory text dooms this broad argument.”) The Cities’ efforts to resurrect dead law
 4    that has been unequivocally disregarded by the Supreme Court must be rejected.
 5         Fundamentally, the district court’s opinion in Save Our Bays v. CCH and the
 6    Supreme Court’s opinion in CCSF v. U.S. EPA are about two different things. Save
 7    Our Bays v. CCH addressed the scope of the citizen suit provision under briefly
 8    controlling Ninth Circuit precedent. See NWEA II, 56 F.3d at 986 (allowing citizen
 9    suits regardless of whether permit conditions are “greater in scope” than federal law
10    requires). In contrast, CCSF v. U.S. EPA held that the Clean Water Act does not
11    authorize “end-result” provisions. It says nothing about the scope of standing for a
12    citizen suit lawsuit under the Clean Water Act and does nothing to cast doubt on the
13    settled rule that permit terms cannot be collaterally attacked in an enforcement
14    action. In fact, in CCSF v. U.S. EPA, the challenge to EPA’s permitting authority
15    under the Clean Water Act was initiated in the proper venue—the Environmental
16    Appeals Board.5 CCSF v. U.S. EPA, 145 S. Ct. at 713.
17         If nothing else, the practical effect of CCSF v. U.S. EPA will be the increased
18    use of the statutorily authorized methods of determining permit validity—challenge
19    to the Environmental Appeals Board for federal permits and petition to the state-
20    issuing authority for state permits. The determination of whether a permit term is an
21    improper end-result provision can be a fact specific effort that requires focused
22    examination in the forum authorized to decide the permit challenge. Pursuant to
23    CCSF v. U.S. EPA, the judicial review of a permit limitation, other than an effluent
24    limitation, must, at minimum, evaluate whether the permit limitation directs the
25    permittee to “do certain specific things,” whether the permit limitation is
26
            5
               In addition to its challenge to U.S. EPA’s federal permitting authority,
27    CCSF also litigated the SF Bay Water Board’s authority through a related challenge
      in state court utilizing the designated process for such challenges under Cal. Code
28    of Civil Procedure section 1094.5. That state court challenge is still pending.
                                                  7
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 1    implemented through “concrete measures,” whether the permit limitation “sets out
 2    actions that must be taken to achieve the objective,” and—in the case of a state-
 3    issued permit such as the one in this action—whether state law authorizes the
 4    permit condition. CCSF v. U.S. EPA, 145 S. Ct. at 715-16; see, e.g., Cal. Water
 5    Code § 13377 (authorizing waste discharge requirements issued as NPDES permits
 6    to include “any more stringent effluent standards or limitations necessary to
 7    implement water quality control plans, or for the protection of beneficial uses, or to
 8    prevent nuisance”). Any judicial review must also recognize that CCSF v. U.S. EPA
 9    was limited to the Clean Water Act’s provisions governing EPA’s combined sewer
10    system permits in the Supreme Court’s interpretation of 33 U.S.C. § 1311(b)(1)(C),
11    and did not extend to municipal stormwater systems under 33 U.S.C. §
12    1324(p)(3)(B). CCSF v. U.S. EPA, 145 S. Ct. at 720 (“§ 1311(b)(1)(C) does not
13    authorize the EPA”); but see Defenders of Wildlife v. Browner, 191 F.3d 1159,
14    1166-67 (9th Cir. 1999) (finding that 33 U.S.C. § 1311(b)(1)(C) does not regulate
15    stormwater discharges under 33 U.S.C. § 1324(p)(3)(B)). And, as courts grapple
16    with implementing CCSF v. U.S. EPA, only those venues with jurisdiction to make
17    the determination of whether a permit term complies with the Supreme Court’s
18    decision may make that finding. This Court lacks such jurisdiction and the Cities’
19    request for this Court to invalidate two provisions of the Permit through the guise of
20    an “interpretation” is a fiction that is plainly inconsistent with California Water
21    Code section 13330(f).
22         C.   Permit Invalidation When the Permitting Agency Is Not a Party
                to the Lawsuit Is Improper
23
                1.    The Clean Water Act Is Undermined If Permit Challenges
24                    Are Allowed During Enforcement Actions
25         The NPDES permit program is the “linchpin” of the Clean Water Act’s
26    regulatory scheme. Ecological Rights Found. v. Pacific Lumber Co., 230 F.3d
27    1141, 1145 (9th Cir. 2000). The principal means of enforcing the Clean Water
28    Act’s pollution control and abatement provisions is through enforcing permit
                                               8
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 1    compliance. Env’t Prot. Agency v. California ex rel. State Water Res. Control Bd.,
 2    426 U.S. 200, 223 (1976). As a supplement to enforcement by these regulating
 3    agencies, the Clean Water Act authorizes citizens to bring their own lawsuits. 33
 4    U.S.C. § 1365. And SF Baykeeper brought this lawsuit on that basis. In fact, SF
 5    Baykeeper’s citizen suit would be barred if the state was pursuing enforcement
 6    actions with respect to the same alleged violations. 33 U.S.C. §§ 1319(g)(6)(A)(i)-
 7    (iii), 1365(b)(1)(B).
 8         The Water Boards rely on citizen suits to fill in enforcement gaps and are
 9    generally not parties to those suits. See generally California Sportfishing Prot. All.
10    v. Chico Scrap Metal, Inc., 728 F.3d 868, 872-78 (9th Cir. 2013). Therefore, the
11    Cities’ effort to utilize a motion for reconsideration to invalidate permit terms
12    threatens to undermine the Clean Water Act’s enforcement scheme and require that
13    the permitting authority be a party to any such citizen suits. This runs contrary to
14    the structure of the Act and would impose a serious burden on the Water Boards,
15    which lack the resources to be a party to every possible enforcement action.
16         Additionally, allowing a collateral permit challenge during an enforcement
17    action would undermine the vital role the public plays in reviewing and
18    commenting on a proposed NPDES permit. 40 C.F.R. §§ 25.1 to 25.14 (specifying
19    minimum requirements for authorized state programs). The public is integral to
20    ensuring permit finality prior to taking effect. See Cal. Code Regs., tit. 23, § 648-
21    648.8; Cal. Wat. Code §§ 13167.5, 13263, Cal. Govt. Code, §§ 11125, 11125.9,
22    11509. Public participants are also eligible to challenge the permit within the
23    permissible period. Cal. Water Code §§ 13320(a), 13330. This public participation
24    is a critical component of ensuring permit finality. Cal. Water Code § 13330(f).
25    Allowing a permit holder to commandeer an enforcement action to challenge permit
26    terms and, in effect, rewrite the permit, would thwart these public participation
27    procedures.
28
                                                       9
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 1         If this Court were to allow determinations on the validity of permit terms to be
 2    adjudicated through citizen suit enforcement actions, on the theory that only the
 3    “enforceability” or “interpretation” of the provision, rather than the validity of the
 4    permit, is at issue, the Court would in effect be mandating that state and federal
 5    regulators become parties to all citizen suit enforcement actions in order to
 6    safeguard a permit and ensure the Court has all relevant information when
 7    interpreting the permit’s terms. This cannot be what the Clean Water Act required
 8    when it sought to reduce the enforcement burden on regulators and obtain “the
 9    achievement of state water quality standards as one of the Act’s central objectives.”
10    Arkansas v. Oklahoma, 503 U.S. 91, 105-06 (1992). The Supreme Court has
11    explained that “the principal means of enforcing the pollution control and
12    abatement provisions of the [Clean Water Act] is to enforce compliance with a
13    permit” and has affirmed the importance of citizen suits in ensuring permit
14    compliance. EPA v. California ex rel. State Water Res. Control Bd., 426 U.S. 200,
15    223-24 (1976).
16         Allowing the Cities, as permittees, to pursue an improper collateral attack on
17    the permit during an enforcement action and improperly extend the scope of the
18    Supreme Court’s decision would have grave repercussions that would threaten the
19    NPDES permitting system in California, undermine the critical role of public
20    participation, and impede the Clean Water Act’s goal of protecting the quality of
21    the State’s waters.
22              2.     The Cities’ Misapplication of CCSF v. U.S. EPA Illustrates
                       the Risks of Error If Collateral Attack of Permits Were
23                     Allowed in Enforcement Proceedings
24         Allowing collateral attack of the NPDES permits during enforcement
25    proceedings raises a grave potential for abuse should challenges to NPDES permits
26    be allowed during an enforcement proceeding instead of as required by state and
27    federal law. First, as noted above, the permitting agency’s views are vital for a
28    complete interpretation of the permit. Second, the parties litigating a citizen suit
                                               10
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 1    enforcement action do not necessarily share the same interests as the permitting
 2    agency. Third, consideration of a permit challenge during an enforcement action,
 3    excises the vital role the public plays in reviewing and commenting on a proposed
 4    NPDES permit. As such there is significant risk for misapplication of the law.
 5         For example, in this matter, the Cities identify two provisions that they claim
 6    are unlawful under CCSF v. U.S. EPA: “Receiving Water Limitation, B.2” and
 7    “Discharge Prohibition A.1.” But this Court is not the proper venue for that inquiry
 8    and these provisions may be justified, including on a state law basis. Most notably,
 9    the Discharge Prohibition A.1 provision identified by the Cities is quite plainly not
10    driven by conditions in the receiving water. Nonetheless, the Cities seek to have it
11    swept up in their effort to invalidate those provisions upon which this enforcement
12    effort is based. Contrary to the Cities’ allegation, Discharge Prohibition A.1 is
13    compliant with CCSF v. U.S. EPA because it identifies what the Cities must do to
14    meet the limitation imposed on them. Namely, “[t]he Permittees shall, within their
15    respective jurisdictions, effectively prohibit the discharge of non-stormwater
16    (materials other than stormwater) into storm drain systems and watercourses.” The
17    limitation addresses action that the Cities must take before non-stormwater even
18    enters the Cities’ stormwater system and therefore well before the Cities “discharge
19    pollutants into covered bodies of water.” CCSF v. U.S. EPA, 145 S. Ct. at 712.
20    Therefore, this is a discharge prohibition that is not driven by conditions in the
21    receiving water and, as a result, it is outside the purview of CCSF v. U.S. EPA
22    because it is not an end-result requirement.
23         The Cities’ motion makes no meaningful argument claiming that Discharge
24    Prohibition A.1 is an end-result provision but, rather, hinges its entire argument on
25    this point to a footnote invoking Webster’s Dictionary. Motion at 6, n.3. Likewise,
26    the Cities ignore clear Ninth Circuit precedent distinguishing the authority for
27    Permit terms such as Receiving Water Limitation, B.2, with the permit terms
28    examined in CCSF v. U.S. EPA. Defenders of Wildlife v. Browner, 191 F.3d at
                                           11
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 1    1166-67 (“Congress did not require municipal storm-sewer discharges to comply
 2    strictly with 33 U.S.C. § 1311(b)(1)(C)” but allows such other provisions as the
 3    State “determines appropriate for the control of such pollutants.”) Although SF
 4    Baykeeper did provide some argument on these topics (ECF No. 279 at 21-24), the
 5    Water Boards are not a party to this case, and there is no certainty that adequate
 6    rebuttal arguments will be raised in all NPDES challenges. The Clean Water Act
 7    nowhere places the “linchpin” of its regulatory scheme—and the fate of NPDES
 8    permits affecting hundreds of millions of people—in the hands of private parties.
 9                                             CONCLUSION
10         For the foregoing reasons, the Water Boards as amici curiae respectfully urge
11    the Court to deny the Cities’ Motion.
12
13    Dated: April 28, 2025                                 Respectfully submitted,
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18
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